      Case 4:20-cv-05640-YGR          Document 1558         Filed 05/13/25     Page 1 of 2




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


   EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
                    Plaintiff, Counter-defendant,
                        v.
   APPLE INC.,                                        RESPONSES TO APPLE’S
                    Defendant, Counterclaimant.       OBJECTIONS TO SPECIAL MASTER
                                                      RULINGS ON APPLE INC.’S
                                                      PRODUCTIONS OF RE-REVIEWED
                                                      DOCUMENTS

The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-
Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
response to Apple’s Objections to the Special Masters’ rulings (“Objections”), filed on
May 9, 2025. (Dkt. 1550.) Epic does not have access to the underlying documents and is
therefore unable to fully assess the bases on which Apple claims privilege; Epic responds to
Apple’s Objections on the limited information provided in Apple’s privilege log entries for
the documents and in Apple’s Objections.
  ●    Entry No. 6600 (PRIV-APL-EG_00215290)—Apple seeks to withhold in its entirety
       this email from a non-lawyer director of services at Apple to 16 other Apple
       employees, including both non-lawyers and lawyers alike. Apple claims in its
       Objection that the email “explicitly stat[es] the legal team’s anticipated next steps”.
       (Dkt. 1550 at 2.) The Special Master reviewed the document and concluded that its
       predominant purpose is business-related and nothing in Apple’s Objection suggests
       that conclusion was erroneous.
  ●    Entry No. 6746 (PRIV-APL-EG_00216655)—This document is an email from a non-
       lawyer Senior Manager of App Review to a non-lawyer administrative assistant,
       copying a listserv for “App Review Senior Managers” and a business
       employee. Apple’s privilege log claims that the proposed redactions conceal “text
       reflecting information for the purpose of obtaining legal advice from employees acting
       under the direction of counsel”. None of that elaborate assertion of privilege remains
       in Apple’s Objection, which claims instead that the redacted text discloses “the
       substance of a legal request directed to Sean Cameron”. (Dkt. 1550 at 3.) Apple may
  Case 4:20-cv-05640-YGR           Document 1558        Filed 05/13/25       Page 2 of 2




   not present to this Court a different basis for its assertion of privilege from the one
   presented to the Special Master and, in any event, the Special Master reviewed the
   proposed redaction and concluded that the text it covers is “too vague to disclose . . .
   [a] request for legal advice”. Apple’s Objection does not challenge that finding and
   provides no information to suggest that determination was erroneous.




DATED: May 13, 2025                              CRAVATH, SWAINE & MOORE LLP
                                                 By: /s/ Yonatan Even
                                                 Counsel for Plaintiff Epic Games, Inc.
